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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
DBW PARTNERS, LLC,                                    )
                                                      )
               Plaintiff,                             )
                                                      )
               v.                                     )       Civil Action No. 18-3127 (RC)
                                                      )
UNITED STATES POSTAL SERVICE and                      )
UNITED STATES POSTAL SERVICE                          )
OFFICE OF INSPECTOR GENERAL,                          )
                                                      )
               Defendants.                            )
                                                      )

    DEFENDANTS’ NOTICE OF FILING OF UPDATED JUSTIFICATIONS FOR
 WITHHOLDINGS AND OF LODGING OF DOCUMENT FOR IN CAMERA REVIEW

       Pursuant to this Court’s Order of October 28, 2019, ECF Nos. 17-18, Defendants United

States Postal Service (“USPS”) and United States Postal Service Office of Inspector General

respectfully submit this Notice advising the Court of its response to the Court’s Order on the

parties’ cross-motions for summary judgment in this Freedom of Information Act (“FOIA”) case.

       1.      Defendants are filing herewith the Declaration of Sharon Owens, which sets forth

updated justifications for the withholding of portions of the report titled “Postal Partnerships:

The Complex Role of Middlemen and Discounts in the USPS Package Business” (the “OIG

Whitepaper”), pursuant to FOIA Exemption 3, 5 U.S.C. § 552(b)(3)(A), and the Postal

Reorganization Act, 39 U.S.C. § 410(c)(2). The Declaration explains in detail why the redacted

portions of the document constitute “information of a commercial nature . . . which under good

business practice would not be publicly disclosed.” 39 U.S.C. § 410(c)(2). A revised redacted

version of the OIG Whitepaper, reflecting the correction of inadvertent errors and the release of

additional non-exempt, segregable material, is attached to Ms. Owens’ Declaration.
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       2.      Under separate cover, Defendants today delivered to the Court, for its in camera

review, an unredacted copy of the OIG Whitepaper.

       3.      On November 26, 2019, Defendant USPS advised Plaintiff that it had conducted a

search for document responsive to Plaintiff’s request for “[a]ny documents or communications

related to an ethics investigation and/or ethics review of former Chief Customer and Marketing

Officer James Cochrane” between July 1, 2017, and October 23, 2018. USPS advised Plaintiff

that it had conducted a diligent search but that no responsive records were found. See Exhibit A.

Dated: November 27, 2019                     Respectfully submitted,

                                             JESSIE K. LIU
                                             D.C. BAR No. 472845
                                             United States Attorney

                                             DANIEL F. VAN HORN
                                             D.C. Bar No. 924092
                                             Chief, Civil Division

                                                     /s/ Paul Cirino
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